                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                          Case No.: 1:22-cv-00342-LCB-JLW


MATTHEW FREETAGE,              )
                               )
              Plaintiff,       )
                               )
      v.                       )
                                                   JOINT MOTION FOR ENTRY OF
                               )
                                                   CONSENT PROTECTIVE ORDER
DUKE UNIVERSITY HEALTH SYSTEM, )
INC.,                          )
                               )
              Defendant.       )
                               )


       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure and Local Civil Rule

7.1, the parties hereby move this Court for the entry of a consent protective order in this

matter. The parties believe that discovery and the trial of the above-captioned action is

likely to involve the production and disclosure of confidential, proprietary, or sensitive

information requiring protection against unrestricted disclosure or use. The parties have

agreed upon the form of the protective order, which is filed contemporaneously herewith.

       WHEREFORE, the parties jointly seek the entry of a protective order to govern the

disclosure or use of confidential, proprietary, or sensitive information.




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       Respectfully submitted this 27th day of September, 2022.



 /s/ Joseph D. Budd                            /s/ Tory Ian Summey
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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Joint Motion for Entry of

Consent Protective Order was electronically filed with the Clerk of the Court using the

CM/ECF system which will automatically send notice and serve same upon counsel of

record via the Court’s electronic case filing system.


       This the 27th day of September, 2022.


                                          /s/ Tory Ian Summey
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